                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DIVISION
                                No. 4:18-cv-00058-BO


 ATLANTIC COAST PIPELINE, LLC,

                                 Plaintiff,
                                                              NOTICE OF VOLUNTARY
                                                             DISMISSAL OF THE ACTION
         v.
                                                                Fed. R. Civ. P. 41(a)(1)(A)(i)
 0.07 ACRE, MORE OR LESS, IN HALIFAX
                                                                      and 71.1(i)(1)(A)
 COUNTY, NORTH CAROLINA et al.,

                                 Defendants.



       Pursuant to Rules 41(a)(1)(A)(i) and 71.1(i)(1)(A) of the Federal Rules of Civil Procedure,

plaintiff Atlantic Coast Pipeline, LLC (“Atlantic”), by counsel, hereby voluntarily dismisses

without prejudice this condemnation action against the subject property and all other defendants.

       No compensation hearing on the subject property has begun, and Atlantic has not acquired

title or a lesser interest or taken possession of the subject property. The subject property consists

of that certain tract of land described as Parcel Identification No. 0600992, composed of 1 acre,

more or less, located in Halifax County, North Carolina and being more particularly described as

a Death Certificate in Book 105, Page 70 and by a Warranty Deed in Book 898, Page 1 of the

public records of said County.

       WHEREFORE, this action may be dismissed in its entirety without prejudice.




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This the 11th day of May, 2018.


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                                  Counsel for Atlantic Coast Pipeline, LLC




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                                  CERTIFICATE OF SERVICE

       I, Henry L. Kitchin, Jr., of McGuireWoods LLP, certify:

       That I am, and at all times hereinafter mentioned was, more than eighteen (18) years of
age; and

        That on this day, I served copies of the foregoing, either by U.S. Mail, postage-prepaid,
or via the Court’s Case Management / Electronic Case Filing (“CM/ECF”) system, on the
following:

               Mr. Charles M. Lollar
               Lollar Law, PLLC
               109 E. Main Street
               Suite 501
               Norfolk, VA 23510
               Counsel for Defendants

       I certify under penalty of perjury that the foregoing is true and correct.

       This the 11th day of May, 2018.


                                              /s/ Henry L. Kitchin, Jr.
                                              Henry L. Kitchin, Jr.
                                              N.C. State Bar No. 23226
                                              Counsel for Atlantic Coast Pipeline, LLC




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